   Case: 1:18-cr-00789 Document #: 155 Filed: 01/02/23 Page 1 of 3 PageID #:771




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATE OF AMERICA,                      )
                                              )
                       Plaintiff,             )       No. 18 CR 789
                                              )
       vs.                                    )       Hon. Gary Feinerman
                                              )
DENY MITROVICH                                )
                                              )
                       Defendant.             )

                             DOCKETING STATEMENT

      Defendant DENY MITROVICH hereby submits this docketing statement

pursuant to Seventh Circuit Rules 3(c)(1) and 28(a), as follows:

   1. Jurisdiction of the District Court: Mr. Mitrovich was charged by way of

      indictment in this case with one count possessing child pornography. Doc. #1.

      The District Court had jurisdiction over those charges under 18 U.S.C. § 3231.

   2. Jurisdiction of the Court of Appeals: The District Court entered a final

      judgment against Mr. Mitrovich on December 19, 2022. Doc. #152. The Court

      of Appeals has jurisdiction over his appeal under 28 U.S.C. § 1291 because that

      judgment disposed of all claims against him and jurisdiction under 18 U.S.C.

      § 3742(a) which permits defendants to appeal certain sentencing decisions.

   3. Mr. Mitrovich filed his notice of appeal on January 2, 2022, within the 14 days

      permitted for the filing of appeals in criminal cases under Fed. R. App. P.

      4(b)(1)(A)(i).




                                          1
Case: 1:18-cr-00789 Document #: 155 Filed: 01/02/23 Page 2 of 3 PageID #:772




                                  Respectfully submitted,


                                  s/ Vadim A. Glozman
                                  An attorney for Deny Mitrovich
                                  Vadim A. Glozman
                                  Matthew P. Kralovec
                                  LAW OFFICES OF VADIM A. GLOZMAN
                                  53 W. Jackson Blvd., Suite 1128
                                  Chicago, IL 60604
                                  P: (312) 726-9015




                                     2
   Case: 1:18-cr-00789 Document #: 155 Filed: 01/02/23 Page 3 of 3 PageID #:773




                           CERTIFICATE OF SERVICE

      I, Vadim A. Glozman, an attorney for Defendant Thomas Barfield, hereby

certify that on this, the 2nd day of January, 2022, I filed the above-described

document on the CM-ECF system of the United States District Court for the Northern

District of Illinois, which constitutes service of the same.



                                                Respectfully submitted,

                                                /s Vadim A. Glozman


LAW OFFICES OF VADIM A. GLOZMAN
53 W. Jackson Blvd., Suite 1128
Chicago, IL 60604
(312) 726-9015




                                            3
